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8
     Eva Pocklington, DTR Holdings, Cobra Chemical and Goldstar
9

10                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
11

12
     SECURITIES AND EXCHANGE                       Case No.: 5:18-cv-00701-JGB-SP
13   COMMISSION,
14                Plaintiff,
15   vs.                                           STIPULATION TO EXTEND TIME TO
16                                                 RESPOND TO INITIAL COMPLAINT BY
     PETER H. POCKLINGTON, LANSTON E.              NOT MORE THAN 30 DAYS (L.R. 8-3)
17   ELDRED, TERRENCE J. WALTON,
     YOLANDA C. VELAZQUEZ a/k/a LANA               ACTION FILED: AUGUST 13, 2014
18   VELAZQUEZ a/k/a LANA PULEO,
19   VANESSA PULEO, ROBERT A.                      Complaint Served: n/a
     VANETTEN, NOVA OCULUS PARNERS,                Request for Service of Summons:
20   LLC, f/k/a THE EYE MACHINE, LLC, and          April 6, 2018
     AMC HOLDINGS, LLC,                            Current Response Date: June 5, 2018
21
                                                   New Response Date: July 5, 2018
                  Defendants.
22

23   EVA S. POCKLINGTON, DTR HOLDINGS,
     LLC, COBRA CHEMICAL, LLC, AND GOLD
24   STAR RESOURCES, LLC.
25                Relief Defendants.
26

27   STIPULATION
28   STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
                                           1                                5:18-CV-00701-JGB-SP
     Case 5:18-cv-00701-JGB-SP Document 23 Filed 06/05/18 Page 2 of 2 Page ID #:80



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            Pursuant to Rule L.R. 8-3 of the Local Rules for the Central District of California, the
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     undersigned parties hereby stipulate that the time for Defendants and Relief Defendants to file
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     their respective responses to the initial complaint, which is currently due June 5, 2018, shall be
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     extended by thirty (30) days, so that the new filing deadline shall be July 5, 2018. This
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     stipulation, together with any prior stipulations, does not extend the time for more than a
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     cumulative total of thirty (30) days from the date the response initially would have been due, and
7
     need not be approved by the judge.
8
            Attorney Becky James has obtained hard copy signatures from all undersigned parties
9

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     and shall maintain same at her principal place of business. Upon request, Attorney James shall

11   provide said hard copy signatures to this court.

12                  DATED THIS: 5th day of June, 2018
                                                             /s/ Becky James
13                                                           BECKY JAMES
14
                                                             Attorneys for Defendants
                                                             Peter H. Pocklington, Terrence J. Walton,
15                                                           Robert A. VanEtten and AMC Holdings
                                                             Attorneys for Relief Defendants
16                                                           Eva Pocklington, DTR Holdings, Cobra
17
                                                             Chemical and Goldstar

18                                                           /s/ David Aveni
                                                             DAVID J. AVENI
19                                                           Attorneys for Defendants
20
                                                             Lanston E. Eldred and Nova Oculus
                                                             Partners, LLC, f/k/a The Eye Machine,
21                                                           LLC.

22                                                           /s/ Douglas Miller
23
                                                             DOUGLAS M. MILLER
                                                             Attorney for Plaintiff
24                                                           Securities and Exchange Commission

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28   STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
                                           2                                        5:18-CV-00701-JGB-SP
